                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
                     Plaintiff,           )
                                          )
        v.                                )   Criminal Action No.
                                          )   10-00244-02-CR-W-DW
BRADLEY COOK,                             )
                                          )
                     Defendant.           )

         REPORT AND RECOMMENDATION TO DENY DEFENDANT’S MOTION
           TO DISMISS COUNT TWO AS UNCONSTITUTIONALLY VAGUE

        Before the court is defendant’s motion to dismiss count two

of the indictment as unconstitutionally vague (document number

117).        Defendant argues that count two fails to provide fair

warning to a criminal defendant and promotes arbitrary

enforcement in violation of the Due Process Clause of the Fifth

Amendment.        I find that 18 U.S.C. § 1591, as applied to

defendant, provides adequate warning that defendant’s conduct was

prohibited by the statute, and it does not encourage arbitrary

and discriminatory enforcement.           Therefore, defendant’s motion to

dismiss should be denied.

I.      BACKGROUND

        On September 8, 2010, an indictment was returned charging

defendant with conspiracy to commit sex trafficking by force,

fraud, or coercion and to use an interstate facility to promote

an unlawful activity, in violation of 18 U.S.C. § 371; sex

trafficking by force, fraud or coercion, in violation of 18

U.S.C. §§ 1591 and 1594; possession of firearms and ammunition by



     Case 4:10-cr-00244-BCW       Document 407   Filed 05/06/13   Page 1 of 25
a drug user, in violation of 18 U.S.C. § 922(g)(3); and using an

interstate facility to facilitate an unlawful activity, in

violation of 18 U.S.C. § 1952(a).

     A superseding indictment was returned on March 30, 2011,

charging the conspiracy, sex trafficking, and use of an

interstate facility to facilitate unlawful activity; however, the

superseding indictment did not include the gun count and added

the following:   Tampering with a victim, in violation of 18

U.S.C. § 1512(a)(1)(A); use of an interstate facility in the

commission of murder for hire, in violation of 18 U.S.C. § 1958;

attempted witness retaliation, in violation of 18 U.S.C. §

1513(a)(1); and attempted tampering with a witness, in violation

of 18 U.S.C. § 1512(b)(1).

     Defendant filed myriad pretrial motions, one of which was

the instant motion to dismiss count two as unconstitutionally

vague.   Defendant subsequently pled guilty to count two reserving

the right to appeal any denial of his motion to dismiss that

count as unconstitutionally vague.      The government agreed to drop

the remaining counts at sentencing.

     Count two reads as follows:

                            COUNT TWO
          (Sex Trafficking by Force, Fraud or Coercion)
          The Grand Jury hereby incorporates by reference, and
     alleges herein, the factual allegations in paragraphs A
     through D of Count One of this indictment.
          Between on or about February 10, 2004, continuing
     through on or about February 27, 2009, in the Western

                                    2


    Case 4:10-cr-00244-BCW   Document 407   Filed 05/06/13   Page 2 of 25
     District of Missouri and elsewhere, EDWARD BAGLEY, BRADLEY
     COOK, MICHAEL STOKES, and MARILYN BAGLEY, defendants herein,
     aiding and abetting one another and others, knowingly, in
     and affecting interstate and foreign commerce, recruited,
     enticed, harbored, transported, provided, and obtained by
     any means, a person, namely FV, and benefitted financially
     and by receiving something of value from participation in a
     venture engaged in recruiting, enticing, harboring,
     transporting, providing, and obtaining FV, knowing that
     force, fraud, and coercion would be used to cause FV to
     engage in a commercial sex act; and attempted to do so.
          All in violation of Title 18, United States Code,
     Sections 1591(a), 1594, and 2.

     The paragraphs from count one which are incorporated by

reference read as follows:

     A.   Introduction
          At all times relevant to this Indictment:
          1.   Defendants EDWARD BAGLEY, a/k/a “Master Ed,”
     MICHAEL STOKES, a/k/a “The Rodent,” and MARILYN BAGLEY, and
     Dennis Henry and James Noel were residents of the Western
     District of Missouri. Defendant BRADLEY COOK, a/k/a
     “PutHer2GoodUse,” was a resident of the Eastern District of
     Missouri.
          2.   Unless otherwise specified herein, Defendants
     EDWARD BAGLEY, a/k/a “Master Ed,” BRADLEY COOK, a/k/a
     “PutHerToGoodUse,” MICHAEL STOKES, a/k/a “The Rodent,” and
     MARILYN BAGLEY, and Dennis Henry and James Noel engaged in
     the alleged conduct herein in the Western District of
     Missouri.
          3.   A female born in February 1986, was the victim of
     the crimes alleged herein. Female Victim, hereafter “FV,”
     was a resident of the Western District of Missouri.

     B.   Object of the Conspiracy
          Between on or about December 2002, to and including
     February 27, 2009, within the Western District of Missouri,
     and elsewhere, Defendants EDWARD BAGLEY, BRADLEY COOK,
     MICHAEL STOKES, and MARILYN BAGLEY, and Dennis Henry and
     James Noel, and others known and unknown to the Grand Jury,
     conspired and agreed with each other to:
          (a) recruit, entice, harbor, transport, provide, and
     obtain FV and benefitted financially and by receiving
     something of value from participation in a venture which
     engaged in an act of recruiting, enticing, harboring,

                                    3


    Case 4:10-cr-00244-BCW   Document 407   Filed 05/06/13   Page 3 of 25
 transporting, providing, and obtaining FV, knowing that
 force, fraud, and coercion, and any combination of such
 means, would be used to cause FV to engage in a commercial
 sex act; and did so in and affecting interstate commerce;
 all in violation of Title 18, United State Code, Sections
 1591(a) and (b)(1);
      (b) use a facility of interstate commerce to promote,
 establish, carry on, and facilitate the promotion,
 establishment, and carrying on, of unlawful activity; all in
 violation of Title 18, United States Code, Section
 1952(a)(3).

 C.   Manner and Means By Which the Object of the Conspiracy
 was to be Accomplished
      The object of the conspiracy was to be accomplished, in
 substance, as follows:
      1.   Defendants EDWARD BAGLEY and MARILYN BAGLEY
 recruited and enticed a minor female, FV, who they believed
 suffered from mental deficiencies and came from a troubled
 childhood, into their trailer home in a wooded area within
 the Western District of Missouri.
      2.   Defendants EDWARD BAGLEY and MARILYN BAGLEY
 engaged in sexual intercourse and sexual torture activities
 with FV to groom and coerce her to become a “sex slave.”
      3.   Defendant EDWARD BAGLEY beat, whipped, flogged,
 suffocated, choked, electrocuted, caned, skewered, drowned,
 mutilated, hung, and caged FV to groom and coerce her to
 become a “sex slave.”
      4.   Defendant EDWARD BAGLEY advertised and publicized
 FV over the internet and in live web cam sessions as his
 slave who would engage in sexual acts and could be tortured
 during live online sessions, or in person.
      5.   Defendants BRADLEY COOK and MICHAEL STOKES, and
 Dennis Henry and James Noel communicated with Defendant
 EDWARD BAGLEY on the internet and the telephone regarding
 BAGLEY’s use of FV and the sexual acts he could have her
 perform for them as his slave.
      6.   Defendants BRADLEY COOK, MICHAEL STOKES and Dennis
 Henry and James Noel provided Defendant EDWARD BAGLEY with
 benefits and things of value including, but not limited to,
 cash, cigarettes, computer hard drives, sadomasochism
 videos, coats, and meat.
      7.   Defendant EDWARD BAGLEY accepted the benefits and
 things of value and coerced FV to engage in sexual acts and
 torture sessions with Defendants BRADLEY COOK, MICHAEL
 STOKES, and Dennis Henry and James Noel.


                                4


Case 4:10-cr-00244-BCW   Document 407   Filed 05/06/13   Page 4 of 25
      8.   Defendants BRADLEY COOK and MICHAEL STOKES, and
 Dennis Henry and James Noel engaged in sexual acts with FV,
 including sexual torture, including, but not limited to,
 flogging, whipping, shocking, choking, piercing, skewering,
 sewing, stapling, and electrocuting.

 D.   Overt Acts
      In furtherance of the conspiracy and to accomplish the
 object of the conspiracy, Defendants EDWARD BAGLEY, BRADLEY
 COOK, MICHAEL STOKES, MARILYN BAGLEY, and Dennis Henry and
 James Noel, and others known and unknown to the Grand Jury,
 committed various overt acts within the Western District of
 Missouri and elsewhere, including, but not limited to the
 following:
      1.    In or about December 2002, Defendants EDWARD
 BAGLEY and MARILYN BAGLEY invited FV, a 16-year-old minor,
 who grew up in foster care homes, into their residence after
 she ran away from home and promised her “a great life,”
 including but not limited to, making her a model and a
 dancer, and making her “dreams come true.”
      2.    In or about February 2003, Defendants EDWARD
 BAGLEY and MARILYN BAGLEY gave FV her own bedroom, dresser,
 and television, and provided her with clothes and food to
 entice her to stay in their trailer home.
      3.    Between on or about December 2002, to and
 including December 6, 2004, Defendant MARILYN BAGLEY modeled
 “slave clothes” as a part of recruiting FV to become
 Defendant EDWARD BAGLEY’s slave.
      4.    Between on or about December 2002, to and
 including February 27, 2009, Defendants EDWARD BAGLEY and
 MARILYN BAGLEY used the internet and adult BDSM pornography
 to train and groom FV to become a sex slave.
      5.    Between on or about December 2002, to and
 including February 2004, Defendant EDWARD BAGLEY had sexual
 intercourse with FV while she was still a minor.
      6.    Between on or about December 2002, to and
 including February 2004, Defendants EDWARD BAGLEY and
 MARILYN BAGLEY showed FV, while she was still a minor,
 images of pornography and sadomasochism activities on the
 internet, his computer, and television.
      7.    On or about February 10, 2004, Defendant EDWARD
 BAGLEY had FV sign a “sex slavery contract” and related
 home-made documents, shortly after her 18th birthday and
 instructed FV that the contract legally bound her to him as
 his “sex slave,” with a term that “never” ended.
      8.    Between on or about February 10, 2004, to and
 including December 27, 2005, Defendant EDWARD BAGLEY sewed

                                5


Case 4:10-cr-00244-BCW   Document 407   Filed 05/06/13   Page 5 of 25
 FV’s urinary opening and vagina shut to show her what was
 “expected of her.”
      9.    Between on or about February 10, 2004, to and
 including February 2005, Defendant EDWARD BAGLEY had FV
 tattooed to mark her as his property, which included a
 tattoo of:
      (1) a bar code on FV’s neck;
      (2) a tribal tattoo on her back with the letter “S” to
      mark her as a slave; and (3) the Chinese symbol for
      slave on her ankle.
      10. Between on or about December 2002, to and
 including February 27, 2009, Defendant EDWARD BAGLEY gave FV
 marijuana and ecstasy, Schedule I controlled substances.
      11. Between on or about February 2004, to and
 including February 27, 2009, Defendant EDWARD BAGLEY engaged
 in oral, vaginal, and anal sex with FV.
      12. On or before August 19, 2004, Defendant MARILYN
 BAGLEY posed in photographs taken by Defendant EDWARD BAGLEY
 where she sexually tortured FV, including, but not limited
 to, full vaginal penetration with her fist.
      13. On or before June 6, 2005, Defendants EDWARD
 BAGLEY and MARILYN BAGLEY sent a text message on the
 internet stating he “whored out” FV.
      14. On or about December 9, 2006, FV called Defendant
 MARILYN BAGLEY from California and told Marilyn Bagley that
 she was afraid of Ed Bagley using the crank phone on her for
 the photo shoot. Defendant MARILYN BAGLEY indicated to FV
 she did not have a choice and not to upset Defendant EDWARD
 BAGLEY.
      15. Between on or about February 10, 2004, to and
 including February 27, 2009, Defendant EDWARD BAGLEY
 performed the following sexual acts, mutilation, and
 torture, any one of which constitute an overt act,
 including, but not limited to, the following:
            a.   Defendant EDWARD BAGLEY sewed FV’s vaginal
      opening with a needle and thread.
            b.   Defendant EDWARD BAGLEY skewered through FV’s
      flesh on her pubic region, pierced FV’s vaginal opening
      and tacked open her labia.
            c.   Defendant EDWARD BAGLEY punctured through
      FV’s nipples with multiple metal needles.
            d.   Defendant EDWARD BAGLEY hooded, roped down,
      and pierced through FV’s nipples with hooks and
      stretched her breasts into the air.
            e.   Defendant EDWARD BAGLEY whipped FV’s body,
      breasts, genitalia, and anus with paddles, canes, and
      floggers.

                                6


Case 4:10-cr-00244-BCW   Document 407   Filed 05/06/13   Page 6 of 25
           f.   Defendant EDWARD BAGLEY tied up FV’s breasts,
      cutting off blood flow and circulation to escalate
      sensitivity, and slapped her breasts with metal
      devices.
           g.   Defendant EDWARD BAGLEY tied up FV’s breasts,
      cutting off blood flow and circulation to escalate
      sensitivity, and pierced her breasts with needles.
           h.   Defendant EDWARD BAGLEY tied FV down, duct
      taped her mouth, and cut through her breast with a long
      metal skewer.
           i.   Defendant EDWARD BAGLEY gagged FV and tied
      her body and neck up with rope, cutting off oxygen.
           j.   Defendant EDWARD BAGLEY tied FV’s limbs
      behind her body and left her hanging, suspended in the
      air, or on a bench for long period’s [sic] of time.
           k.   Defendant EDWARD BAGLEY gagged FV, tied her
      limbs stretched open, and suctioned her breasts and
      vaginal labia with suction devices.
           l.   Defendant EDWARD BAGLEY chained FV’s body
      down or to the wall and blindfolded and hooded her.
           m.   Defendant EDWARD BAGLEY gagged and
      blindfolded FV naked, chained up FV, and stretched her
      limbs in opposing directions.
           n.   Defendant EDWARD BAGLEY gagged FV, tied her
      hands behind her back, and nailed FV’s nipples to slabs
      of wood.
           o.   Defendant EDWARD BAGLEY bound and tied FV
      naked to a wooden pony or wooden horse with an
      appendage inserted into her vaginal or anal opening.
           p.   Defendant EDWARD BAGLEY strapped FV down for
      hours at a time on a home-made device consisting of a
      plastic toolbox with a motor and piston inside
      connected to a metal arm with a dildo attached.
           q.   Defendant EDWARD BAGLEY locked, chained and
      hooded FV naked in a dog cage, often suspending the
      cage in the air or attaching FV’s sex organs to
      electrical devices while she was trapped in the cage.
           r.   Defendant EDWARD BAGLEY electrocuted FV with
      crank phones by generating high levels of electric
      voltage into FV through her toes, labia, nipples,
      vagina, and anus.
           s.   Defendant EDWARD BAGLEY inserted a catheter
      into FV’s urethra and clamped the cord to prevent
      urination for extended periods of time.
           t.   Defendant EDWARD BAGLEY inserted a plug into
      FV’s anus which he used to electrocute her and force
      water into her rectum.

                                7


Case 4:10-cr-00244-BCW   Document 407   Filed 05/06/13   Page 7 of 25
           u.   Defendant EDWARD BAGLEY performed
      “waterboarding” on FV by forcing her head underwater or
      pouring water on her face for extended periods of time.
           v.   Defendant EDWARD BAGLEY suffocated FV to
      unconsciousness with ropes and plastic bags.
      16. Between on or about February 10, 2004, to and
 including February 27, 2009, Defendant EDWARD BAGLEY
 escalated, increased, and extended the torture outlined in
 Paragraphs 15(a) - (v) above, that he executed upon FV as a
 form of punishment if FV attempted to stop the activity,
 cried for help, or did not otherwise cooperate during the
 course of the torture.
      17. Between on or about February 10, 2004, to and
 including February 27, 2009, Defendant EDWARD BAGLEY refused
 FV necessary medical care and provided FV animal antibiotics
 for infections and illness.
      18. Between on or about January 2004, to and including
 June 2007, Defendant MARILYN BAGLEY warned FV to “do as she
 was told” or should would see “Violent Ed.”
      19. Between on or about February 10, 2004, to and
 including February 27, 2009, Defendant MARILYN BAGLEY
 refused to offer FV assistance when FV expressed fear of
 Defendant EDWARD BAGLEY.
      20. Between on or about February 2003, to and
 including February 27, 2009, Defendants EDWARD BAGLEY and
 MARILYN BAGLEY took and held FV’s government identification
 documents, including, but not limited to, FV’s birth
 certificate and social security card.
      21. Between on or about February 10, 2004, to and
 including February 27, 2009, Defendant EDWARD BAGLEY
 tortured FV on live web cam over the internet.
      22. Between on or about February 10, 2004, to and
 including February 27, 2009, Defendant EDWARD BAGLEY
 threatened and exhibited his ability to kill FV by
 maintaining numerous guns in the home.
      23. Between on or about February 10, 2004, to and
 including February 27, 2009, Defendant EDWARD BAGLEY
 threatened and exhibited his ability to kill FV by shooting
 animals she cared for in front of her, and bragging about
 the bodies he had already buried in the woods behind the
 trailer home.
      24. On or about February 8, 2009, Defendant EDWARD
 BAGLEY, while intoxicated, transported FV from a strip club
 with a loaded firearm in his vehicle.
      25. Between on or about October 2008, to and including
 February 27, 2009, Defendant EDWARD BAGLEY threatened to
 bury FV alive and showed her a video demonstrating how he

                                8


Case 4:10-cr-00244-BCW   Document 407   Filed 05/06/13   Page 8 of 25
 intended to do it.
      26. Between on or about February 10, 2004, to and
 including February 27, 2009, Defendant EDWARD BAGLEY ignored
 FV’s pleas to stop abusing her, would not allow her to use a
 “safe word,” or ignored her “safe word” when she attempted
 to use it during the sex/torture sessions that he performed
 with her alone, and those witnessed in and participated in
 by Defendants MICHAEL STOKES and BRADLEY COOK and Dennis
 Henry and James Noel.
      27. Between on or about February 10, 2004, to and
 including February 27, 2009, Defendant EDWARD BAGLEY
 performed “abortions” on FV using specula, vacuums, and
 clothing hangers for the purpose of terminating possible
 pregnancies.
      28. Between on or about February 10, 2004, to and
 including February 27, 2009, Defendants MICHAEL STOKES and
 BRADLEY COOK and Dennis Henry and James Noel communicated
 with Defendant EDWARD BAGLEY on the internet and/or the
 telephone regarding sexual and torture activities involving
 FV.
      29. In or about 2004, Defendant EDWARD BAGLEY invited
 Dennis Henry to his trailer residence and presented FV to
 Dennis Henry as his slave.
      30. Between on or about February 10, 2004, to and
 including February 27, 2009, Defendant EDWARD BAGLEY
 provided FV to Dennis Henry to allow Dennis Henry to torture
 her, including but not limited to, allowing him to tie FV
 up, strap her to a wooden pony, and whip her with floggers
 and leather straps.
      31. Between on or about February 10, 2004, to and
 including February 27, 2009, Defendant EDWARD BAGLEY, after
 torturing FV, would have her clean up the mess and clean the
 sexual toys and devices used on her because that was “her
 responsibility” as a slave.
      32. Between on or about February 10, 2004, to and
 including February 27, 2009, Defendant EDWARD BAGLEY
 provided FV to Dennis Henry to have him engage in oral and
 vaginal sex with her.
      33. Between on or about March 2007, to and including
 February 27, 2009, Defendant EDWARD BAGLEY provided FV to
 Dennis Henry for him to have anal sex with FV so he could
 “get her used to” having anal sex with other men.
      34. In or about December 2006, Defendant EDWARD BAGLEY
 and Dennis Henry transported FV from Missouri to California
 with the intent that FV perform sexual acts during a photo
 shoot.


                                9


Case 4:10-cr-00244-BCW   Document 407   Filed 05/06/13   Page 9 of 25
      35. In or about December 2006, Defendant EDWARD BAGLEY
 accepted approximately $1,400 from Dennis Henry for FV to
 engage in sex acts during a pornographic photo shoot in
 California.
      36. In or about March 2007, Defendant EDWARD BAGLEY
 accepted an additional $500 from Defendant Dennis Henry for
 further transportation of FV from Missouri to California.
      37. Between on or about, February 10, 2004, to and
 including October 2008, Defendant BRADLEY COOK watched
 Defendant EDWARD BAGLEY stream live video over the internet
 of FV being sexually abused and tortured, including, but not
 limited to, being whipped through the bars of a cage.
      38. Between on or about February 10, 2004, to and
 including February 27, 2009, Defendant BRADLEY COOK
 downloaded pictures of FV distributed by Defendant EDWARD
 BAGLEY to his computer and saved them.
      39. Between on or about February 10, 2004, to and
 including February 27, 2009, Defendant BRADLEY COOK sent
 images to Defendant EDWARD BAGLEY of females in his
 residence that he beat, bound and tied up to share ideas
 with Defendant BAGLEY of how to abuse FV.
      40. Between on or about January 2006, to and
 including, October 2008, Defendant BRADLEY COOK visited
 Defendant EDWARD BAGLEY’s residence and smoked marijuana
 with Defendant EDWARD BAGLEY and FV.
      41. Between on or about January 2006, to and
 including, October 2008, Defendant BRADLEY COOK traveled to
 Defendant EDWARD BAGLEY’s residence and observed Defendant
 BAGLEY have FV perform sexual acts for Defendant COOK.
      42. Between on or about January 2006, to and
 including, October 2008, Defendant BRADLEY COOK traveled to
 Defendant EDWARD BAGLEY’s residence and had FV perform oral
 sex on him.
      43. Between on or about January 2006, to and including
 October 2008, Defendant BRADLEY COOK engaged in vaginal,
 anal, and oral sex with FV.
      44. Between on or about January 2006, to and including
 October 2008, Defendant BRADLEY COOK gave Defendant EDWARD
 BAGLEY a hard drive with sadomasochism and torture videos
 downloaded from the internet, including videos showing how
 to bury someone alive.
      45. Between on or about January 2006, to and including
 October 2008, Defendant EDWARD BAGLEY whipped FV for
 Defendant BRADLEY COOK while FV was chained up.
      46. Between on or about January 2006, to and including
 October 2008, Defendant BRADLEY COOK, sexually abused
 females in his own residence and shared those torture

                                10


Case 4:10-cr-00244-BCW   Document 407   Filed 05/06/13   Page 10 of 25
 methods with Defendant EDWARD BAGLEY for him to apply to FV
 [-- a]ny one of which constitutes an overt act, including,
 but not limited to the following:
           a.    tied up FV’s breasts with rope, cutting off
      her blood flow, and then slapped the sensitized area
      with a paddle or his hand;
           b.    tied up FV and then applied wooden spring
      clothes pins to her body;
           c.    tied up FV and placed a ball gag and rings in
      her mouth;
           d.    tied up FV naked, laying [sic] down, and
      poured water on her face to “waterboard” her.
      47. Between on or about February 10, 2004, to and
 including February 27, 2009, Defendant MICHAEL STOKES
 traveled to Defendant EDWARD BAGLEY’s residence and engaged
 in the following acts, any one of which constitutes an overt
 act, including, but not limited to the following:
           a.    flogged and whipped FV’s body;
           b.    shocked FV’s vaginal opening with an
      electrical device;
           c.    tortured FV with a sensory deprivation
      device;
           d.    watched Defendant EDWARD BAGLEY torture FV
      with a crank phone;
           e.    watched Defendant EDWARD BAGLEY electrocute
      FV while she was confined in a dog cage.
      48. Between on or about June 2006, to and including
 February 27, 2008, Defendant MICHAEL STOKES engaged in oral
 and vaginal sex with FV.
      49. On or about 2006, Defendant MICHAEL STOKES offered
 FV to James Noel and another known person to the Grand Jury
 for sex acts and transported James Noel to Defendant EDWARD
 BAGLEY’s residence.
      50. In or about December 2006, Defendant MICHAEL
 STOKES gave Defendant EDWARD BAGLEY $1,000 to transport FV
 to California for a pornographic photo shoot where FV would
 engage in sex acts.
      51. Between on or about February 10, 2004, to and
 including February 27, 2009, Defendant MICHAEL STOKES gave
 Defendant EDWARD BAGLEY steaks, cigarettes, coats, clothing,
 lighters, and cash.
      52. In or about March 2005, Defendant MICHAEL STOKES
 gave Defendant EDWARD BAGLEY $300 to build a home-made
 device to torture FV, which was made up of a black plastic
 toolbox with a motor and piston inside connected to a metal
 arm with a dildo attached.


                                11


Case 4:10-cr-00244-BCW   Document 407   Filed 05/06/13   Page 11 of 25
            53. Between on or about 2006, to and including
       February 27, 2009, Defendant EDWARD BAGLEY hooked FV to an
       electrical device that was connected to a dildo for
       Defendant MICHAEL STOKES and James Noel’s to watch.
            54. Between on or about 2006, to and including
       February 27, 2009, Defendant EDWARD BAGLEY tortured FV for
       James Noel with a crank phone, electrical devices, a violet
       wand and floggers.
            55. Between on or about December 2006, to and
       including March 2007, Defendant EDWARD BAGLEY accepted $300
       from James Noel to watch and engage in torture activities
       with FV for several hours.
            56. Between on or about February 10, 2004, to and
       including February 27, 2009, Defendant MARILYN BAGLEY
       accepted and utilized the benefits received from FV’s sexual
       acts and dancing at the local adult entertainment clubs for
       herself, including, but not limited to, cigarettes, steaks,
       clothes, food, and cash.
            57. Between on or about June 2007, to and including
       February 27, 2009, Defendant EDWARD BAGLEY had FV work at an
       adult entertainment club as a dancer and stripper for his
       own financial benefit.
            58. On or about February 27, 2009, Defendant EDWARD
       BAGLEY suffocated and electrocuted FV during a torture
       session, which resulted in her cardiac arrest, emergency
       medical treatment, and hospitalization.
            All in violation of Title 18, United States Code,
       Section 371.

II.    VAGUENESS OF THE INDICTMENT

       It is well established that an indictment is sufficient if

it (1) contains the elements of the offense charged and fairly

informs the defendant of the charge against which he must defend,

and (2) enables him to plead an acquittal or conviction in bar of

future prosecutions.       Hamling v. United States, 418 U.S. 87, 117

(1974); United States v. McMahan, 744 F.2d 647, 650 (8th Cir.

1984).     The sufficiency of the indictment is to be judged by

practical, and not by technical, considerations.               Hayes v. United


                                      12


      Case 4:10-cr-00244-BCW   Document 407   Filed 05/06/13    Page 12 of 25
States, 296 F.2d 657, 667 (8th Cir. 1961), cert. denied, 369 U.S.

867 (1962).     An indictment ordinarily is held sufficient unless

it is so defective that by no reasonable construction can it be

said to charge the offense for which the defendant was convicted.

United States v. Young, 618 F.2d 1281, 1286 (8th Cir.), cert.

denied, 449 U.S. 844 (1980); United States v. Ivers, 512 F.2d

121, 123 (8th Cir. 1975).

     It is generally sufficient that the indictment sets forth

the offense in the words of the statute itself, so long as those

words fully, directly, and expressly, without uncertainty or

ambiguity, set forth all the elements necessary to constitute the

offense intended to be punished.        Hamling v. United States, 418

U.S. at 117; United States v. McKnight, 799 F.2d 443, 445 (8th

Cir. 1986); United States v. Opsta, 659 F.2d 848, 850 (8th Cir.

1981).     However, the indictment does not have to follow the exact

wording of the statute.     United States v. Ivers, 512 F.2d at 123.

     Title 18, United States Code, Section 1591 reads in relevant

part as follows:

     (a)  Whoever knowingly –
          (1) in or affecting interstate or foreign
     commerce...recruits, entices, harbors, transports, provides,
     obtains or maintains,1 by any means a person; or


     1
      The government points out that the December 23, 2008,
amendment to 18 U.S.C. § 1591 added the word “maintains.”
However, because the defendant’s conduct was both prior and
subsequent to the amendment date, the government used the
language in the older version of the statute but argues that

                                   13


   Case 4:10-cr-00244-BCW   Document 407    Filed 05/06/13   Page 13 of 25
           (2) benefits, financially or by receiving anything of
      value, from participation in a venture which has engaged in
      an act described in violation of paragraph (1) knowing, . .
      . that means of force, threats of force, fraud, coercion
      described in subsection (e)(2), or any combination of such
      means will be used to cause the person to engage in a
      commercial sex act . . . shall be punished as provided in
      subsection (b).

      The term “coercion” is defined as (A) threats of serious

harm to or physical restraint against any person; (B) any scheme,

plan, or pattern intended to cause a person to believe that

failure to perform an act would result in serious harm to or

physical restraint against any person; or (C) the abuse or

threatened abuse of law or the legal process.           § 1591(e)(2).

The term “commercial sex act” means any sex act, on account of

which anything of value is given to or received by any person.                §

1591(e)(3).

      The elements of 18 U.S.C. § 1591, as charged in count two of

the indictment are:

           One, the defendant knowingly recruited, enticed,
      harbored, transported, provided, and obtained a person by
      any means;
or
      benefitted, financially or by receiving anything of value,
      from participation in a venture which engaged in an act that
      recruited, enticed, harbored, transported, provided, or
      obtained a person by any means;

           Two, the defendant knew that force, fraud, or coercion
      would be used to cause the person to engage in a commercial
      sex act; and


“[i]t is relevant here now, however, because it demonstrates
Congress’s ongoing efforts to broaden the application of § 1591.”

                                     14


     Case 4:10-cr-00244-BCW   Document 407   Filed 05/06/13   Page 14 of 25
          Three, the conduct was in or affected interstate
     commerce.

     Count two clearly tracks the language of 18 U.S.C. § 1591.

The indictment alleges that defendant

     •       knowingly,

     •       in and affecting interstate and foreign commerce,

     •       recruited, enticed, harbored, transported, provided and
             obtained, or attempted to do so

     •       by any means

     •       a person, namely FV

     •       and benefitted financially and by receiving something
             of value

     •       from participation in a venture engaged in recruiting,
             enticing, harboring, transporting, providing and
             obtaining FV

     •       knowing the force, fraud, and coercion would be used

     •       to cause FV to engage in a commercial sex act.

     In addition, count two, by incorporating count one, adds

additional detail by setting forth dozens of actions each

defendant is alleged to have taken.

         “A statute which either forbids or requires the doing of an

act in terms so vague that men of common intelligence must

necessarily guess at its meaning and differ as to its

application” is void for vagueness.        United States v. Washam, 312

F.3d 926, 929 (8th Cir. 2002) (internal citations omitted).

“Void for vagueness simply means that criminal responsibility


                                   15


   Case 4:10-cr-00244-BCW   Document 407    Filed 05/06/13   Page 15 of 25
should not attach where one could not reasonably understand that

his contemplated conduct is proscribed.” Id. (internal citations

omitted); United States v. Ghane, 673 F.3d 771, 776 (8th Cir.

2012).   “There is a two-part test to determine whether a statute

is void for vagueness.      The statute, first, must provide adequate

notice of the proscribed conduct, and second, not lend itself to

arbitrary enforcement.”      United States v. Bamberg, 478 F.3d 934,

937 (8th Cir. 2007) (internal citations omitted); United States

v. Clinton, 2012 WL 5195987 (D.S.D., October 19, 2012).               It is

well established that vagueness challenges to statutes which do

not involve First Amendment freedoms must be examined in the

light of the facts of the case at hand.          United States v.

Mazurie, 419 U.S. 544, 550 (1975).          The court must determine

“whether [the] statute is vague as applied to the particular

facts at issue,2 for a plaintiff who engages in some conduct that

is clearly proscribed cannot complain of the vagueness of the law

as applied to the conduct of others.”          United States v. Yielding,

657 F.3d 688, 715 (8th Cir. 2011) (citation omitted).

     The government argues three theories in its response to

defendant’s motion:    Defendant was a customer and customers fall



     2
      A vagueness argument such as the one raised by defendant
would typically be addressed after evidence is presented at
trial. However, the parties entered into a conditional plea
agreement which necessarily contemplates using the allegations in
the indictment to determine the vagueness issue.

                                    16


   Case 4:10-cr-00244-BCW    Document 407     Filed 05/06/13   Page 16 of 25
under 18 U.S.C. § 1591(a)(1), defendant participated in and

benefitted from the venture under 18 U.S.C. § 1591(a)(2), and

defendant attempted or aided and abetted the venture under 18

U.S.C. §§ 1595 and 2.       Sufficiency on any one of these theories

is sufficient to meet a challenge for vagueness.              See generally

United States v. Yielding, 657 F.3d at 715.           The defendant’s

motion argues only that customers do not fall under 18 U.S.C. §

1591 and that defendant did not receive anything of value.                He

did not address the fact that he is also charged with aiding and

abetting and attempt.

18 U.S.C. § 1591(a)(1) - Obtain by any means a person

     The plain language of a statute can give adequate notice.

United States v. Ghane, 673 F.3d 771, 778 (8th Cir. 2012).                Words

in statutes are given their ordinary meaning unless a contrary

meaning appears.   Batsell v. United States, 403 F.2d 395, 400

(8th Cir. 1969) (holding the word “induces” in the Mann Act has

its common meaning).    Actual notice that a statute applies to the

defendant’s conduct is not required.         United States v. Carpenter,

422 F.3d 738, 746 (8th Cir. 2005).

     In United States v. Ghane, 673 F.3d 771, 777 (8th Cir.

2012), the defendant, Hessam Ghane, was charged with knowingly

stockpiling, retaining, and possessing a chemical weapon

(potassium cyanide) which is a toxic chemical not intended by the

defendant to be used for a peaceful purpose.           “Peaceful purposes”

                                     17


   Case 4:10-cr-00244-BCW     Document 407   Filed 05/06/13    Page 17 of 25
was defined as “[a]ny peaceful purpose related to an industrial,

agricultural, research, medical, or pharmaceutical activity or

other activity.”     Id. (quoting 18 U.S.C. § 229F(7)(A)).         Ghane

told a physician’s assistant examining him in the emergency room

that he would use cyanide to commit suicide.         In court, Ghane

argued the terms “chemical weapon,” “toxic chemical,” and

“peaceful purpose” were imprecisely defined in 18 U.S.C. §§

229F(1)(A), (7)(A), and (8)(A) thus making the statute

unconstitutionally vague.     The Eighth Circuit held that the

statute was not vague as applied to Ghane because the plain

language of the statute gave ample notice, and a jury could

reasonably conclude that suicide did not fall within the “common

understanding” of peaceful purposes.       United States v. Ghane, 673

F.3d at 777 and 779.     “A person of ordinary intelligence could

reasonably understand that stealing and possessing potassium

cyanide (a highly dangerous and regulated substance) to effect a

possible suicide might result in criminal culpability.”            Id. at

778.

       Similarly, the ordinary meaning of the words in 18 U.S.C. §

1591 provide ample warning of criminal culpability as to the

facts which are alleged in the superseding indictment.            Section

1591 is part of the Traffickintg Violence and Protection Act

(“TVPA”), an anti-slavery and human trafficking statute.            18

U.S.C. Ch. 77.     The purpose of the TVPA is “to combat trafficking

                                   18


   Case 4:10-cr-00244-BCW   Document 407   Filed 05/06/13   Page 18 of 25
in persons.    22 U.S.C. § 7101(a).        The TVPA notes that many

victims of trafficking are forced into the international sex

trade which involves the “sexual exploitation of persons,

predominantly women and girls, involving activities related to

prostitution, pornography, sex tourism, and other commercial

sexual services.”     22 U.S.C. § 7101(b)(2).

      Section 1591 applies to whoever “knowingly . . . recruits,

entices, harbors, transports, provides, or obtains by any means a

person . . . knowing that force, fraud, or coercion . . . will be

used to cause the person to engage in a commercial sex act. . .

.”   The statute does not define the word “obtain.”             The

dictionary defines “obtains” as “to gain or attain usu. by

planned action or effort.”        Webster’s Ninth New Collegiate

Dictionary 816 (1990).        While, as defendant argues, verbs other

than “obtain” may be used in prohibiting typical prostitution in

order to prohibit the buying and selling of sex, here the

statute’s focus on the buying and selling of the person rather

than the buying and selling of the sex requires the use of

different verbs than would be used in a typical prostitution

statute.    Section 1591 prohibits the buying (obtaining) or

selling (providing) of a person knowing that force, fraud, or

coercion will be used to cause the person to engage in a

commercial sex act.



                                      19


     Case 4:10-cr-00244-BCW    Document 407   Filed 05/06/13   Page 19 of 25
     Defendant argues that he did not violate § 1591 because he

is alleged to have obtained the victim for sex.             As the statute

specifically seeks to combat human trafficking largely involving

the “sexual exploitation of persons,” it would be counter to the

purpose of the statute to exclude from criminal culpability those

who obtain a person for sex, knowing force or coercion was used

to cause the victim to engage in the commercial sex act.

Further, a person of ordinary intelligence could reasonably

understand that criminal culpability could result when the person

obtains a woman for sexual acts, including sexual torture, while

knowing a third person tortured her or threatened to torture her

to force and coerce her into complying with the sexual acts.

     The statute is sufficiently narrow to avoid arbitrary

enforcement.   The statute requires the knowing acquisition of the

victim with the knowledge that force, fraud or coercion will be

used to cause the victim to engage in a commercial sex act.               This

mens rea requirement prevents the statute’s use in typical

prostitution scenarios where the patron is unaware of the

specifics of the prostitute’s coercion.

     Here the indictment alleges, among many other things, that

defendant gave to Edward Bagley videos showing how someone could

be buried alive, that Edward Bagley threatened to bury FV alive

and showed her a video demonstrating how he intended to do it,

that defendant had sex with FV and tortured her, and that FV was

                                   20


   Case 4:10-cr-00244-BCW   Document 407   Filed 05/06/13     Page 20 of 25
not permitted to use safe words or safe words were ignored when

she was being tortured by defendant.       These facts alone are

sufficient to put defendant on notice that his alleged conduct is

prohibited by 18 U.S.C. § 1591:     He is alleged to have knowingly

obtained (sexually tortured and had sex with) a person (FV)

knowing that force, fraud or coercion will be used (threatening

to bury her alive and showing her videos depicting someone being

buried alive, videos which were provided to Bagley by defendant,

and refusing to permit her to use safe words or ignoring her safe

words during torture and sex) to cause her to engage in a

commercial sex act.

     Based on all of the above, I find that 18 U.S.C. §

1591(a)(1) generally and as applied to the defendant in count two

provides fair warning of the prohibited conduct and does not

promote arbitrary enforcement.     Therefore, defendant’s motion to

dismiss should be denied.

18 U.S.C. § 1591(a)(2)

     Defendant alleges that he did not benefit financially or by

receiving anything of value as required by 18 U.S.C. §

1591(a)(2).   “Anything of value” is not defined by the statute.

In the context of the Sentencing Guidelines, courts have found a

“thing of value” (U.S.S.G. § 2G2.2) to include the ability to

download files at a faster speed, United States v. Geiner, 498

F.3d 1104, 1110 (10th Cir. 2007), the expectation of a sexual

                                   21


   Case 4:10-cr-00244-BCW   Document 407   Filed 05/06/13   Page 21 of 25
encounter, Unied States v. Maneri, 353 F.3d 165, 168 (2nd Cir.

2003), and the expectation of the receipt of child pornography

through a file-sharing network, United States v. Griffin, 482

F.3d 1008, 1011 (8th Cir. 2007).

     Here defendant is alleged to have engaged in sexual acts

with and torture of the victim, witnessed others engaging in

sexual torture of the victim, and downloaded pictures of the

victim distributed by Edward Bagley.       Defendant, in turn, is

alleged to have provided Edward Bagley with images of females

whom defendant had bound and beaten and he provided Bagley with

videos depicting someone being buried alive -- which was in turn

used by Bagley to coerce FV into compliance.         As it is common

knowledge that people will pay money for sex and for pictures of

someone engaging in sex acts, it is hard to comprehend

defendant’s argument that these were not “things of value.”

Accordingly, 18 U.S.C. § 1591(a)(2), as applied to defendant,

provides adequate notice that his conduct constituted a

violation.     Further, the statute is not prone to arbitrary

enforcement.     Therefore, the application of 18 U.S.C. §

1591(a)(2) to count two is not unconstitutionally vague, and

defendant’s motion should be denied on this alternate basis.

18 U.S.C. §§ 1594 and 2 - Attempt and Aiding and Abetting

     Defendant was not only charged with directly violating §

1591 in count two, but also as an aider and abetter and as

                                   22


   Case 4:10-cr-00244-BCW   Document 407   Filed 05/06/13   Page 22 of 25
someone who attempted to commit the crime, in violation of §§ 2

and 1594.3   Because both § 2, aiding and abetting, and § 1594,

attempt, are also charged, the government must only prove that

the defendant aided and abetted co-defendant Edward Bagley or

intended to commit a violation of § 1591 and took a substantial

step towards the completion of that crime.

     To sustain an aiding and abetting conviction, the government

must prove that (1) the defendant associated himself with the

unlawful venture, (2) the defendant participated in it as

something he wished to bring about, and (3) the defendant sought

by his actions to make it succeed.         United States v. Ruiz-Zarate,

768 F.3d 683, 690-691 (8th Cir. 2012); United States v. Turner,

583 F.3d 1062, 1067 (8th Cir. 2009).         “A fundamental theory of

American criminal law is that there is no offense of aiding and

abetting or accomplice liability as such. . . .               Whether one is

convicted as a principal or as an accomplice/aider and abettor,

the crime of which he is guilty is the same: whatever is the

underlying offense.” United States v. Baca-Valenzuela, 118 F.3d

1223, 1232 (8th Cir. 1997) (italics omitted). 18 U.S.C. § 2 does

not establish a separate offense, but rather imputes the actions

of the principal to the aider and abettor as a matter of law.



     3
      18 U.S.C. § 1594 provides in relevant part, “(a) Whoever
attempts to violate section . . . 1591 shall be punishable in the
same manner as a completed violation of that section.”

                                   23


   Case 4:10-cr-00244-BCW   Document 407     Filed 05/06/13     Page 23 of 25
United States v. Yielding, 657 F.3d 688, 719 (8th Cir. 2011);

United States v. Stands, 105 F.3d 1565, 1577 (8th Cir. 1997).

     The government’s allegations4 in the superseding indictment

are sufficient for a conviction under 18 U.S.C. §§ 1594 and 2.

The actions attributed to co-defendant Edward Bagley show an

unlawful venture and can be imputed to defendant Cook.            The

superseding indictment states, among other things, that defendant

communicated with co-defendant Edward Bagley regarding sexual

torture activities, he witnessed and participated in sexual

torture of the victim, and he shared ideas and videos with co-

defendant Edward Bagley on how to sexually torture FV and how to

coerce her into compliance with threats of being buried alive and

videos showing someone being buried alive.        These allegations

cover the elements of aiding and abetting and of attempt.

     Accordingly, 18 U.S.C. §§ 1594 and 2, as applied to

defendant, provide adequate notice that his conduct constituted

an attempt to violate 18 U.S.C. § 1591 and that his conduct

constituting aiding and abetting a violation of 18 U.S.C. § 1591.




     4
      Although they are called “allegations” here, I note that
defendant has already pled guilty to count two, which means he
has admitted that the allegations are true. As count two
incorporates count one, all of the allegations discussed in this
Report and Recommendation are actually established facts.

                                   24


   Case 4:10-cr-00244-BCW   Document 407   Filed 05/06/13   Page 24 of 25
III. CONCLUSION

     Based on all of the above, I find that 18 U.S.C. § 1591, as

applied to defendant, provides adequate warning that defendant’s

conduct was prohibited by the statute and it does not encourage

arbitrary and discriminatory enforcement.        Therefore, it is

     RECOMMENDED that the court, after making an independent

review of the record and the applicable law, enter an order

denying defendant’s motion to dismiss count two as

unconstitutionally vague.

     Counsel are advised that, pursuant to 28 U.S.C. § 636(b)(1),

each has 14 days from the date of this report and recommendation

to file and serve specific objections.




                                 ROBERT E. LARSEN
                                 United States Magistrate Judge

Kansas City, Missouri
May 6, 2013




                                   25


   Case 4:10-cr-00244-BCW   Document 407   Filed 05/06/13   Page 25 of 25
